                    Case 19-33629            Doc 1       Filed 11/20/19            Entered 11/20/19 16:22:59                   Desc Main
                                                            Document               Page 1 of 7
Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF MINNESOTA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Minnesota School of Business, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  8089 Globe Drive
                                  Woodbury, MN 55125
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Washington                                                      Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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          Minnesota School of Business, Inc.
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 6114

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                  Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                          Case number
                                                  District                                 When                          Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor     Globe University, Inc.                                     Relationship              Affiliate
                                                  District   Minnesota                     When                         Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
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                                                                                               7 number (if known)
         Minnesota School of Business, Inc.
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                                                                        50,001-100,000
                                                                                     5001-10,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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          Minnesota School of Business, Inc.
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      November 20, 2019
                                                  MM / DD / YYYY


                             X   /s/ Terry L. Myhre                                                      Terry L. Myhre
                                 Signature of authorized representative of debtor                        Printed name

                                 Title   Chairman/President




18. Signature of attorney    X   /s/ Clinton E. Cutler                                                    Date November 20, 2019
                                 Signature of attorney for debtor                                              MM / DD / YYYY

                                 Clinton E. Cutler 158094
                                 Printed name

                                 Fredrikson & Byron, P.A.
                                 Firm name

                                 200 S Sixth St, Ste 4000
                                 Minneapolis, MN 55402
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     612-492-7000                  Email address      ccutler@fredlaw.com

                                 158094 MN
                                 Bar number and State




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 Fill in this information to identify the case:

 Debtor name         Minnesota School of Business, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF MINNESOTA

 Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          November 20, 2019                       X /s/ Terry L. Myhre
                                                                       Signature of individual signing on behalf of debtor

                                                                       Terry L. Myhre
                                                                       Printed name

                                                                       Chairman/President
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name Minnesota School of Business, Inc.
 United States Bankruptcy Court for the: DISTRICT OF MINNESOTA                                                                                            Check if this is an

 Case number (if known):                                                                                                                                  amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and              Name, telephone number            Nature of claim          Indicate if claim   Amount of claim
 complete mailing address,         and email address of              (for example, trade       is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code                creditor contact                  debts, bank loans,       unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                                     professional services,       disputed        value of collateral or setoff to calculate unsecured claim.
                                                                     and government                               Total claim, if           Deduction for value        Unsecured claim
                                                                     contracts)                                   partially secured         of collateral or setoff
 Former Criminal                   Adam Welle, Esq.                  Violation of             Unliquidated                                                                   $5,000,000
 Justice Program                                                     Consumer Fraud                                                                                            estimate
 Restitution Claimants                                               and Deceptive
 c/o Minnesota Attorney                                              Trade Practices
 General '                                                           Acts
 445 Minnesota Street,
 Suite 1400
 Saint Paul, MN 55101
 Students entitled to              Adam Welle, Esq.                  Return of principal Unliquidated                                                                        $4,600,000
 return of loans                                                     paid on student                                                                                           estimate
 c/o Minnesota Attorney                                              loans for usury
 General                                                             violation
 Attn: Adam Welle, Esq.
 445 Minnesota Street,
 Suite 1400
 Saint Paul, MN 55101
 Tuition Options LLC               James Kim                         Loan servicing           Unliquidated                                                                  $117,474.71
 14000 Horizon Way                 Ballard Spahr LLP                 fees                     Disputed
 Drive                             1675 Broadway
 Suite 400                         19th Floor
 Mount Laurel                      New York, NY
 Township, NJ 08054                10019-5820
                                   646-346-8089

 Minnesota Attorney                Adam Welle, Esq.                  Claims for               Unliquidated                                                                      Unknown
 General                                                             attorneys fees,
 c/o Adam Welle, Esq.                                                costs,
 445 Minnesota Street,                                               disbursements,
 Suite 1400                                                          and damages
 Saint Paul, MN 55101                                                under Minn. Stat.
                                                                     § 8.31




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                     page 1

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 Debtor    Minnesota School of Business, Inc.                                                                     Case number (if known)
           Name

 Name of creditor and              Name, telephone number            Nature of claim          Indicate if claim   Amount of claim
 complete mailing address,         and email address of              (for example, trade       is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code                creditor contact                  debts, bank loans,       unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                                     professional services,       disputed        value of collateral or setoff to calculate unsecured claim.
                                                                     and government                               Total claim, if           Deduction for value        Unsecured claim
                                                                     contracts)                                   partially secured         of collateral or setoff
 U.S. Department of                Douglas A Parrott                 Chargeback for           Unliquidated                                  Subject to setoff                   $850,000
 Education                         Division Director                 potential                Disputed                                                                           estimate
 400 Maryland Avenue,              US Department of                  discharged
 SW                                Education                         student loans
 Washington, DC 20202              School Participation
                                   Division
                                   Chicago/Denver
                                   Federal Student Aid
                                   500 West Madison St
                                   Chicago, IL 60661




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                     page 2

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